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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA

                                          Case No.:


  DANIELLE GREENBERG, individually
  and on behalf of all others similarly
  situated,

                 Plaintiff,
  v.
                                                       JURY TRIAL DEMANDED
  HP INC.

             Defendant.
  __________________________________/


                                 CLASS ACTION COMPLAINT

        Plaintiff Danielle Greenberg, individually and on behalf of all others similarly

  situated, by her attorneys, files this Class Action Complaint (“Complaint”) against

  Defendant HP Inc. (“HP”). The following allegations are based on personal knowledge as

  to Plaintiff’s own conduct and on the investigation conducted by her counsel.

                    INTRODUCTION AND SUMMARY OF ACTION

        1.     Plaintiff brings this consumer class action alleging that HP misled

  consumers about the quality and functionality of the Envy Laptops (“Envy”), Envy 360

  Laptops (“Envy 360”), Pavilion Laptops (“Pavilion”), Pavilion 360 Laptops (“Pavilion

  360”) and the HP 14, HP 15, and HP 17 Laptops (“HP Laptop”). Together, these

  computers, sold in or after 2017, make up the “Class Laptops”.

        2.      HP designed, manufactured, marketed, sold, and distributed the Class

  Laptops to tens of thousands of consumers in Florida and throughout the United States.

                                              1
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         3.     The Class Laptops all possess a material defect that prevents them from

  being used as portrayed in HP’s advertising materials, and HP concealed, failed to

  disclose, or otherwise engaged in deceptive marketing with respect to this defect. As a

  result, many consumers purchased computers that became practically unusable after just

  months of use.

         4.     Unbeknownst to consumers, the Class Laptops are designed and

  manufactured with a common inherent defect that, over time, compromises the laptops’

  hinges, thus impairing the computer’s portability and functionality. The Class Laptops’

  display hinges are defective in that they break off from the poorly secured mounting

  points at the base of the device (the “Defect”).

         5.     One of the essential attributes of a laptop or portable computer is the ability

  to open and close the case like a clam shell for ease of transport. This ability is contingent

  on the hinge being anchored to the two halves of the laptop. A laptop’s universal design

  consists of a thin upper case, containing the monitor, and a thicker, more robust bottom

  case that contains the keyboard, hard drive, CPU, and other critical components. The

  hinge provides a connection between the two halves and allows the monitor to be opened

  and closed as needed.

         6.     Upon information and belief, the Defect is the result of ordinary stress on a

  vital component that is common in the Class Laptops. Because the hinges are anchored to

  the laptops with poorly designed parts constructed from weak plastic, the ordinary

  opening or closing of the laptop fractures the plastic anchors, causing them to fail, and

  destabilizes the hinges. This destabilizing of the hinges causes the case to become

                                                2
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  compromised resulting in further damage to the lower case and inoperability of the hinge

  as designed. The Defect is captured in the below photograph of a Class Laptop hinge

  mechanism.

                        Fractured Plastic Anchors in Class Laptop (HP 17)




                            Fractured Plastic Anchors in 17" HP Envy1




  1
   17" HP Envy Coming apart at the left near screen hinge - Page 3 - HP Support Community –
  4651990https://h30434.www3.hp.com/t5/Notebook-Hardware-and-Upgrade-Questions/17-quot-HP-Envy-Coming-
  apart-at-the-left-near-screen-hinge/td-p/4651990/page/3

                                                    3
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                                       Defect in an HP Envy 3602




          7.      Despite their knowledge of the Defect, Defendant markets its Envy 360 and

  Pavilion 360 computers as “convertible” and designed to offer a range of angles and

  movements to users:

          “Create on-the-go with a convertible laptop designed to move with you. The
          power of a 360 degree hinge combined with the simultaneous use of touch and pen
          make for vibrant, accurate creations…The 360 degree hinge adapts so you can
          capture every intricate sketch with precision.”3 (Envy x360)

                                                      ***

          “The HP Pavilion x360…convertible adapts to you so that you are productive at
          any angle…with four modes to choose from, you’ll find just the right angle for




  2
     HP Envy x360 Broken Hinge - HP Support Community – 6793400, https://h30434.www3.hp.com/t5/Notebook-
  Hardware-and-Upgrade-Questions/HP-Envy-x360-Broken-Hinge/td-p/6793400
  3
    See HP Envy x360 Product Listing, https://www.hp.com/us-en/shop/pdp/hp-envy-x360-laptop-15t-ed100-174r7av-
  1?cq_src=google_ads&cq_cmp=12690817676&cq_con=123460399194&cq_term=&cq_med=&cq_plac=&cq_net=
  g&cq_pos=&cq_plt=gp&DSA&jumpid=ps_con_nb_ns&utm_medium=ps&utm_source=ga&utm_campaign=HP-
  Store_US_BRA_PS_CPS_OPEX_Google_All_SEM_All_Notebooks-
  DSA&utm_term=&matchtype=b&adid=512564949515&addisttype=g&gclid=Cj0KCQjwqKuKBhCxARIsACf4Xu
  Epqark2dOenF2HqBQPwnykTceQK1TgHgPcz62FECDLt7bBJRgkvDsaAibJEALw_wcB&gclsrc=aw.ds

                                                       4
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            anything with the extremely flexible HP Pavilion x360.”4

            8.    Defendant marketed its HP Laptops as “reliable” and “designed for long-

  lasting performance”, with “compact, portable design”5.

            9.    Defendant further provides assurances to customers as to the HP Laptops’

  durability and HP’s pre-sale diligence by stating that “extensive quality testing ensures

  that you can keep going...and going.”6

            10.   Indeed, Defendant claims that each model has been subject to 115,000

  hours of testing,7 which included opening and closing the laptops tens of thousands of

  times.8

            11.   Defendant uniformly represented to consumers that it had years of

  experience manufacturing of computers and was in effect an expert in manufacturing,

  design, and use of computers.

            12.   Plaintiff and Class members saw or heard these representations from

  Defendant about the Class Laptops prior to purchasing their Envy, Envy x360, Pavilion

  x360, Pavilion, or HP Laptops.

            13.   Plaintiff purchased an HP Laptop manufactured by Defendant on October

  27, 2020, for $599.99. Within months of her purchase, Plaintiff noticed a problem that

  she came to learn has plagued other purchasers of the Class Laptops. Namely, during


  4
    See HP Pavilion x360 Convertible Product Listing, https://www.hp.com/us-en/shop/pdp/hp-pavilion-x360-
  convertible-15t-er000-touch-24d80av-1?jumpid=ma_weekly-deals_product-tile_laptops_3_24d80av-1_hp-pavilion-
  x360-con
  5
    See Work, Watch and Play All Day, June 4, 2018, https://www.youtube.com/watch?v=KdB4v9ssdIY
  6
    HP Laptop - 17-ca2097nr (2Y438UA#ABA)
  7
    HP Total Test Process Testing - HP Inc Video Gallery - Products (brightcovegallery.com)
  8
    HP Total Test Process Testing - HP Inc Video Gallery - Products (brightcovegallery.com); Inside HP Labs of
  Destruction! (archive.org)

                                                       5
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  ordinary use of the machine, the hinges separate from the device, snap, or otherwise fail.

  This ultimately prevents the laptop from closing or opening. The destabilized hinges also

  render the devices too fragile for transport. Moreover, the damage to the hinge results in

  the screen, and its contents, sitting in a tilted position.

         14.       Plaintiff researched the HP Laptop online before she bought it, including

  reviewing HP’s representations about the device on HP’s website and third-party reviews.

  Plaintiff purchased the HP Laptop because she was induced to believe its features would

  fit her needs.

         15.       Contrary to HP’s representations, HP fails to disclose that the Class

  Laptops are designed and manufactured with a common inherent defect that, over time,

  compromises the laptop’s hinges, impairing the computer’s portability and functionality.

         16.       According to Plaintiff and other owners of the Class Laptops who have

  experienced the Defect, the common hinge problem is not a result of dropping or

  otherwise handling the laptop roughly. Rather, owners report that the Defect becomes

  suddenly apparent by way of a popping or crunching noise when opening or closing the

  laptop in the course of normal and intended use.

         17.       As a result, the user’s ability to (1) open the laptop to utilize the device, (2)

  close or transport the laptop, or (3) transition the configuration of the laptop, is

  dramatically reduced or lost altogether. Thus, the Defect renders the computer partially

  or wholly unusable.




                                                   6
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         18.     Consequently, the Class Laptops are not fit for their intended purpose as

  functioning, compact, portable, or flexible computers and cannot satisfy the

  representations HP made in its marketing materials and warranties.

         19.     There are thousands of customer posts on Defendant’s own online forum

  complaining of the hinge issue described above in the Class Laptops. These posts date

  back to at least 2014.

         20.     The complaints describe the Defect, the accompanying crunching sounds

  when the devices are opened, and even report plastic debris from the weak hinge anchors

  being expelled from the Class Laptops.

         21.     HP has responded to the Defect in several ways, all of which are

  inadequate. In communications with some owners of the Class Laptops, HP has stated

  that a hardware assembly issue was causing the hinge cracking and panel separation

  problems.9 Despite acknowledging the Defect in this fashion, Defendant has been unable

  or unwilling to address the true scope and pervasive nature of the Defect in the Class

  Laptops.

         22.     HP’s laptop computers are covered by a limited warranty (the “Limited

  Warranty”), which warrants that HP products are free of defects in material and

  workmanship and that HP will repair the product, or if it is unable to repair the product,

  replace or refund the purchase.




  9
   https://h30434.www3.hp.com/t5/Notebook-Hardware-and-Upgrade-Questions/HP-Laptop-Hinge-completely-
  broken-and-laptop-will-not-close/m-p/8101580 (posted on 07/02/2021 at 6:50 AM)

                                                    7
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          23.     The Defect manifests both inside and outside of the warranty period.

  Defendant has been unable to fix the Defect during the warranty period and routinely

  refuses to repair the Defect free of charge outside the warranty period.

          24.     Many consumers complaining to HP about the Defect were told that the

  issue was caused by user error and HP refused to provide complementary repair. Many

  other purchasers of the Class Options have sent their computers in for repair, only to find

  that the same issues crop up after the purported repairs, and/or in the next iteration of HP

  laptop owners purchased.

          25.     Despite being aware of the cause of the Defect, HP and its representatives

  have often engaged in, or directed frustrated customers to engage in, ineffective repair

  methods.10 Many customers who attempted to exercise their rights under the warranty

  were told the hinge problems were the result of a hardware problem and were instructed

  to order and install replacement hinges from the HP Part store, which did not fix the

  Defect. And when HP accepted a Class Laptop for repair under warranty, it often

  replaced the hinges with the same part. None of these purported repairs remedied the

  hinge issues, because none addressed the Defect.

          26.     Defendant marketed, promoted, and sold the Class Laptops as flexible,

  compact, and portable laptops featuring sleek design and mobility to support on-the-go,

  dynamic, and prolonged use.




  10
    See, e.g., Response https://h30434.www3.hp.com/t5/Notebook-Hardware-and-Upgrade-Questions/HP-Laptop-
  Hinge-completely-broken-and-laptop-will-not-close/m-p/8101580 (posted on 7/2/2021 at 7:32 AM).

                                                      8
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         27.    Defendant knew that a material factor for consumers who purchased a Class

  Laptop was that the device was capable of handling frequent use and transportation and,

  in the case of the Envy 360 and Pavilion 360, possessed hinges capable of movement into

  various positions and angles.

         28.    The Defect, however, makes it difficult or impossible to open and close the

  Class Laptop, transport the laptop, or move the laptop smoothly into any of its advertised

  dynamic positions.

         29.    HP concealed from and/or failed to disclose to Plaintiff and the Class the

  defective nature of the Class Laptops, and failed to remove the Class Laptops from the

  marketplace or take adequate action to remedy the Defect. Rather, HP sold and serviced

  the Class Laptops even though it knew, or was reckless in not knowing, that the Defect

  impacted the functionality of the Class Laptops and would ultimately result in Plaintiff’s

  and Class members’ inability to use their Class Laptops for their intended purpose.

         30.    Defendant’s knowledge of the Defect is evident from the voluminous

  complaints lodged on Defendant’s own online forum as well as Defendant’s engagement

  with Class Laptop owners complaining of the Defect on the forum.

         31.    As a result of HP’s unlawful, unfair, fraudulent, misleading, and deceptive

  practices, Plaintiff and other consumers have purchased HP’s products under the

  mistaken belief that the Class Laptops possessed high quality, functional hinges that were

  capable of normal use without damaging the machine.




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          32.    Had Plaintiff and the Class known the facts regarding the Defect in the

   Class Laptops, those facts would have been material to their and any reasonable

   consumer’s decisions to purchase the Class Laptops at the price they paid for them.

          33.    Indeed, had Plaintiff and the Class known about the Defect at the time of

   purchase, they would have paid substantially less for their Class Laptops. Alternatively,

   they would not have purchased the Class Laptops and avoided the significant out-of-

   pocket costs they have or will incur to repair or replace their Class Laptops once the

   Defect manifests.

          34.    As a consequence of HP’s false and misleading statements, its active

   concealment of the Defect, and its failure to repair or otherwise address the Defect,

   Plaintiff and the Class have suffered injury in fact and actual damages in that the Class

   Laptops they purchased are unreliable and/or unusable for their intended purposes. As a

   direct and proximate result of the Defect, Plaintiff and the Class have also suffered or will

   suffer damages in the form of, inter alia: out-of-pocket expenditures for the replacement

   and attempted repairs of the Class Laptops; diminished value of the Class Laptops; time

   wasted attempting to repair the Defect; and the failure to receive the benefit of the

   bargain in their purchases of the Class Laptops.

          35.    Accordingly, Plaintiff seeks redress for Defendant’s breaches of warranties

   and violations of the Magnusson-Moss Warranty Act, Florida’s Deceptive and Unfair

   Trade Practices Act, Florida Statute § 817.41 prohibiting misleading advertising, and the

   common law of the state.



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          36.    In furtherance of the public interest, and in order to remedy HP’s wrongful

   conduct, Plaintiff brings this action as a class action, and asserts claims on behalf of

   herself and a class of similarly situated persons seeking money damages, equitable relief,

   and injunctive relief for Defendant’s conduct described herein.

          37.    Because of the relatively small size of the typical individual Class

   members’ claims, it is unlikely that individual Class members could afford to seek

   recovery on their own. This is especially true in light of the size and resources of

   Defendant. A class action is, therefore, the only reasonable means by which Class

   members can obtain relief.

                                            PARTIES

          38.    Plaintiff Danielle Greenberg is an individual citizen of the United States

   residing in Palm Beach County, Florida and is otherwise sui juris.

          39.    Defendant HP Inc. is a Delaware corporation with its headquarters located

   at 1501 Page Mill Road, Palo Alto, California, 94304. Upon information and belief, HP

   Inc. is a global Fortune 500 company and one of the world’s largest manufacturers and

   sellers of computers. Defendant HP Inc. utilizes the website www.hp.com/us-

   en/home.html and its related webpages, as well as resellers, to market and sell personal

   computers and related products directly to consumers throughout the United States,

   including to consumers in Florida. HP Inc. is registered to do business in Florida and

   other states across the country.




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                                JURISDICTION AND VENUE

          40.    This Court has personal jurisdiction over HP because: a substantial portion

   of the wrongdoing alleged in this Amended Complaint took place in this state; HP is

   authorized to do business here and systematically and continuously conducts business

   here; HP has sufficient minimum contacts with this state; and HP otherwise intentionally

   avails itself of the markets in this state through the promotion, marketing, and sale of its

   products in this state. These facts render the exercise of jurisdiction by this Court

   permissible under traditional notions of fair play and substantial justice.

          41.    This Court has subject matter jurisdiction over all of Plaintiff’s claims

   under 28 U.S.C. § 1332(d). This is a class action, the matter in controversy exceeds the

   sum of $5,000,000.00, exclusive of interest and costs, and Plaintiff and the Class

   members are citizens of states different from Defendant.

          42.    Venue is proper in this District under 28 U.S.C. § 1391 because a

   substantial part of the events and omissions giving rise to the claim occurred in this

   District.

                                   STATEMENT OF FACTS

          43.    HP Inc. designs, develops, manufacturers, and sells personal computers,

   tablet computers, monitors, printers, workstations, and accessories.

          44.    HP Inc. operates in more than seventy countries and sells its products

   globally. HP’s headquarters is in Palo Alto, California.

          45.    As of January 2021, HP Inc. was the world’s second largest personal

   computer vendor by unit sales.

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        A. The Class Laptops

           46.      The laptop models which comprise the Class Laptops are aggress a diverse

   line of HP’s laptop computer products. However, all the Class Laptops share and suffer

   from the same inherent design defect (defined above) as described in detail below.

           47.      HP launched the Envy family of computers in 2009.11 In 2014, HP unveiled

   its 360-degree Convertible PC—so named for its ability to assume multiple form factors

   due to a hinged screen. Since that time, HP has released at least 37 new laptop computers

   under the Envy and 360-degree Convertible brand names. The latest (2021) basic Envy

   models are priced at $1,499.99 and $1,099.99, for the 15” and 17” models, respectively.

   The latest (2021) convertible Envy models are only offered as 15” models and start at

   $699.99.

           48.      The latest (2021) basic model of the 15” HP Pavilion is priced at $619.99.

   The latest (2021) convertible model of the 15” HP Pavilion starts at $699.99. The latest

   (2021) basic 15” and 17’ HP Laptops are priced at $329.99, and $429.99 respectively.

           49.      Defendant represented, and continues to represent, to consumers that it had

   years of experience in the manufacture of computers and was in effect an expert in the

   manufacture, design, and use of computers.

           50.      Defendant’s Limited Warranty “guarantees that it will repair, replace, or

   refund, at HP’s option, an HP Hardware Product that manifests a defect in materials or

   workmanship during the Limited Warranty Period”.12 If “in the unlikely event that…HP


   11
     See Timeline of our history, https://www.hp.com/us-en/hp-information/about-hp/history/hp-timeline/timeline.html
   12
     HP Worldwide Limited Warranty and Technical Support, https://www.hp.com/us-
   en/privacy/limited_warranty.html#2

                                                          13
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   determines it is unable to repair or replace the HP Hardware Product, HP, at its option,

   may elect to provide you with (a) a replacement unit selected by HP that is the same or

   functionally equivalent to your HP Hardware Produce in performance or (b) to give you a

   refund or credit of your purchase price or lease payments (less interest) instead of a

   replacement. To the extent permitted by local law, this is your exclusive remedy for

   defective products.”13

              51.   Defendant designed, manufactured, warranted, advertised, and sold Class

   Laptops to tens of thousands of consumers throughout the United States and, upon

   information and belief, disseminated marketing materials from its headquarters in

   California.

          B. The Defect

              52.   Contrary to HP’s representations, the Class Laptops are designed and

   manufactured with an inherent defect that compromises the computers’ ability to open or

   close, be transported, or configured into any of its advertised dynamic positions.

   Moreover, the damage to the hinge results in the screen, and its contents, sitting in a tilted

   position. Upon information and belief, the Defect is the result of ordinary stress on a vital

   component that is common in the Class Laptops.

              53.   While the hinges are connected to the Class Laptops using brass screws, the

   screws are held in place by fragile plastic. The fracture toughness of the plastic is too low

   for this application and reflects the overall lack of quality in the laptop’s frame.



   13
        Id.

                                                 14
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           54.     Because the hinges are anchored to the Class Laptops with poorly designed

   parts constructed from weak plastic, the ordinary opening or closing of the laptop results

   in friction between the brass and weak plastic. This, in turn, wears and cracks the plastic

   anchors — thus destabilizing the hinges. During ordinary use of the machine, the Defect

   causes part or all of the hinge anchors to crack, snap, separate, break or otherwise fail.

           55.     Once the brass become unsecured from the plastic rings, they will not re-

   seat. Therefore, in the absence of an adequate fix, the Defect will only worsen as time

   progresses.

                                 Image from YouTube Repair Video14




           56.     Once the Defect manifests, use of the computer is, at best, difficult, and

   often impossible because the user cannot transport, open or close, or adjust their laptop.

   Since the Defect impairs the user’s ability to view the visual interface to the machine and

   14
     Laptop Hinge Repair - HP Envy - YouTube; available at https://www.youtube.com/watch?v=cyaZ-7rUFmQ. Last
   visited on November 2, 2021.

                                                      15
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   impairs or prevents the portability of the laptop, it renders the device partially or wholly

   unusable.

           57.     According to Plaintiff and other owners of Class Laptops who have

   experienced the Defect, the hinge problems are triggered and exacerbated when the

   laptop monitor is opened, closed, or adjusted — such as when the user folds the monitor

   down towards the keyboard or, in the case of the 360-degree Convertible models, the

   monitor is folded into tent or tablet mode.

           58.     The Defect is often initially identified by crunching sounds when the

   devices are opened as well as plastic debris falling from the Class Laptops. Soon

   thereafter, the hinge becomes increasingly inoperable.

           59.     Consequently, the Class Laptops are not fit for their intended purpose and

   cannot perform in accordance with HP’s marketing materials and warranties.

           60.     The Defect has impacted many other purchasers of the Envy, Envy 360,

   Pavilion, Pavilion 360, and HP Laptops. For example, on April 18th, 2020, a forum

   member created a thread entitled “Broken hinge attachment” and wrote:

                   I bought the 17-BY1008CA less than a year ago…The way the laptop has
                   been designed the entire weight of the monitor is resting on two hinges that
                   are attached to cheap plastic. It is basically designed so that if the laptop is
                   open the weight slowly pulls the screws out of where they are attached and
                   pushes up through the housing causing everything to break…My laptop sits
                   on my desk or on my lap in my home. It is lifted by the bottom using two
                   hands…I have to use clamps to hold it together as it has already snapped
                   the housing. I spent $700 on this laptop it should not break by itself.15




   15
      HP Forum, https://h30434.www3.hp.com/t5/Notebook-Hardware-and-Upgrade-Questions/Broken-hinge-
   attachment/m-p/7560795. Last visited on November 2, 2021.

                                                     16
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          61.     In the same thread, another customer replies: “My issue is similar…Two

   days ago (8 months after receiving my laptop back from repairs) the hinge broke a second

   time. The first hinge incident occurred just over a year after purchase. I have never

   dropped it or handled it roughly. I used it to read an article for school the other evening,

   then closed it. The next morning it cracked as I attempted to open it”.16

          62.     In another thread on the HP Forum created on February 15, 2021, entitled

   “Broken hinge,” a customer wrote:

                  I purchased a $1100 envy360 in 2018. The laptop is not two years old so
                  it’s a year out of warranty. I was using it last night and the left side hinge
                  broke from the inside out. I called hp and they said because it’s out of
                  warranty I would have to pay $500 to have it fixed which would take over a
                  month. I am a college student I don’t have $500 or a month to get my
                  laptop fixed…I have…NEVER dropped it. I’m so disappointed that HP
                  won’t stand behind their products and do the right thing and fix it for free.
                  The laptop should last longer than two years before it starts to fall apart.17

          63.     In the same thread, another customer responded, that they were “having the

   same problem.”18

          64.     In another thread posted on January 21, 2021 titled “Broken left hinge and

   corner”, a customer wrote about their Pavilion HP Notebook:

                  “I have an HP laptop that is cracked on the upper left corner. The hinge has
                  also broken and I have to leave the lid open. I have not dropped the laptop
                  and it seems that other people have posted this same issue.”19

          65.     Another customer responded to this post, writing


   16
      Id.
   17
      HP Forum, https://h30434.www3.hp.com/t5/Notebook-Hardware-and-Upgrade-Questions/Broken-hinge/m-
   p/7977304.
   18
      Id.
   19
      HP Forum, https://h30434.www3.hp.com/t5/Notebook-Video-Display-and-Touch/Broken-left-hinge-and-
   corner/m-p/7945435.

                                                     17
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                     “I have the exact same issue but the response HP gives is that it is out of
                    warranty and they will repair for $300!! That is unacceptable!! This is
                    clearly a design/manufacturing flaw HP is aware of and won’t stand by
                    their product? This is a terrible way to handle your business and
                    customers.”20

           66.      On the HP Forum there are thousands of distinct complaints detailing the

   issues caused by the Defect. Below are a few such examples of such threads pertaining to

   the Class Laptops, each one created by a different consumer and containing a multitude

   of testimonials regarding the issues created by the Defect:

                 72. 17-Bs019cy (2PB35UA) Broken hinge (created November 29, 2020).21

                 73. HP 17” Laptop – By0053cl HP Laptop Hinge completely broken and laptop

                 will not close – Unacceptable! (created July 1, 2021).22

                 74. HP 17-By1003na Full-HD Laptop Product 7GR46EA#ABU HINGE ON

                 RIGHT SIDE OF LAPTOP BROKEN (created September 30, 2020).23

                 75. HP Laptop 17-By001st Horrible HP Experience – HP wants me to pay

                 $190 to fix their faulty product (created August 22, 2020).24

                 76. Pavilion Laptop 15 Broken hinge (created August 3, 2020).25




   20
       Id.
   21
       See https://h30434.www3.hp.com/t5/Notebook-Hardware-and-Upgrade-Questions/Broken-hinge/m-p/7874642
   22
       See https://h30434.www3.hp.com/t5/Notebook-Hardware-and-Upgrade-Questions/HP-Laptop-Hinge-completely-
   broken-and-laptop-will-not-close/m-p/8101580
   23
       See https://h30434.www3.hp.com/t5/Notebook-Hardware-and-Upgrade-Questions/HINGE-ON-RIGHT-SIDE-
   OF-LAPTOP-BROKEN/m-p/7799660
   24
      See https://h30434.www3.hp.com/t5/Notebook-Hardware-and-Upgrade-Questions/Horrible-HP-Experience-HP-
   wants-me-to-pay-190-to-fix-their/m-p/7743128
   25
       See https://h30434.www3.hp.com/t5/Notebook-Hardware-and-Upgrade-Questions/Broken-hinge/m-p/7670952

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               77. HP 15-D035dx Notebook PC HP Notebook broken hinge – is it fixable?

               (created March 1, 2019).26 The user provided the below images of the Defect.




   26
      See https://h30434.www3.hp.com/t5/Notebook-Hardware-and-Upgrade-Questions/HP-Notebook-broken-hinge-is-
   it-fixable/m-p/7036976

                                                      19
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               78. HP Notebook – 17-By1062st Broken hinge on my laptop (created March

               12, 2021).27

               79. HP Gaming Pavilion – 15-Cx0140tx HP Gaming Pavilion – 15-cx0140tx =

               Hinges broken with Pieces coming out broken! (created June 30, 2021).28

               80. Pavilion 15-Cs0053cl Left hinge broken (created July 9, 2020).29

               81. HP ENVY X360 Left Hinge on HP ENVY x360 Broken (created July 12,

               2021).30

               82. HP Notebook Broken left rear hinge (created June 4, 2021).31

               83. Notebook 15-Bs121nr broken hinge (created December 18, 2019).32


   27
      See https://h30434.www3.hp.com/t5/Notebook-Hardware-and-Upgrade-Questions/Broken-hinge-on-my-
   laptop/m-p/8006416
   28
      See https://h30434.www3.hp.com/t5/Notebook-Hardware-and-Upgrade-Questions/HP-Gaming-Pavilion-15-
   cx0140tx-Hinges-broken-with-Pieces/m-p/8100345
   29
      See https://h30434.www3.hp.com/t5/Notebook-Hardware-and-Upgrade-Questions/Left-hinge-broken/m-
   p/7680094
   30
      See https://h30434.www3.hp.com/t5/Notebook-Hardware-and-Upgrade-Questions/Left-Hinge-on-HP-ENVY-
   x360-Broken/m-p/8110870
   31
      See https://h30434.www3.hp.com/t5/Notebook-Hardware-and-Upgrade-Questions/Broken-left-rear-hinge/m-
   p/8080837
   32
      See https://h30434.www3.hp.com/t5/Notebook-Hardware-and-Upgrade-Questions/broken-hinge-l/m-p/7345099

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               84. HP Notebook – 15-Bs113dx Broken hinges (created January 15, 2021).33

               85. HP Laptop 17z Broken hinges (created December 6, 2020).34

               86. Pavilion 15-Cs3019nl HP Pavilion – 15-cs3019nl – Screen Hinges Broken

               – Display Bezel Broken (created January 27, 2021).35

               87. Pavilion Gaming Laptop 15-Cx0xxx HP Pavilion Gaming Laptop 15 hinge

               broken just a year and a half after purchase (created April 25, 2020).36

               88. HP Notebook – 17-Bs001no Hp left hinge broken (created April 10,

               2019).37

               89. Pavilion Gaming Laptop 15-Cx0020nr Broken hinge mount on Pavilion

               gaming laptop (created May 20, 2020).38

               90. Hp-Bs023ca Hinge broken (created April 14, 2021).39

               91. Broken left hinge on my HP 17-bs0xx (created July 7, 2021).40

               92. HP Envy x360 Screen Popped Out/Broken Hinge (created April 4, 2020). 41

               The post provided the below images of the Defect.




   33
      See https://h30434.www3.hp.com/t5/Notebook-Hardware-and-Upgrade-Questions/Broken-hinges/m-p/7937049
   34
      See https://h30434.www3.hp.com/t5/Notebook-Hardware-and-Upgrade-Questions/Broken-hinges/m-p/7883787
   35
      See https://h30434.www3.hp.com/t5/Notebook-Hardware-and-Upgrade-Questions/HP-Pavilion-15-cs3019nl-
   Screen-Hinges-Broken-Display-Bezel/m-p/7952645
   36
      See https://h30434.www3.hp.com/t5/Notebook-Hardware-and-Upgrade-Questions/HP-Pavilion-Gaming-Laptop-
   15-hinge-broken-just-a-year-and-a/m-p/7574227
   37
      See https://h30434.www3.hp.com/t5/Notebook-Hardware-and-Upgrade-Questions/Hp-left-hinge-broken/m-
   p/7085264
   38
      See https://h30434.www3.hp.com/t5/Notebook-Video-Display-and-Touch/Broken-hinge-mount-on-Pavilion-
   gaming-laptop/m-p/7615274
   39
      See https://h30434.www3.hp.com/t5/Notebook-Hardware-and-Upgrade-Questions/Hinge-broken/m-p/8037757
   40
      See https://h30434.www3.hp.com/t5/Notebook-Hardware-and-Upgrade-Questions/broken-left-hinge-on-my-HP-
   17-bs0xx/m-p/8106517
   41
      HP Envy x360 Screen Popped Out/Broken Hinge - HP Support Community - 7536339

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            67.      Purchasers of the Class Laptops have also posted similar accounts on many

   other internet forums.42 For example, the below reddit post concerning an Envy 360

   illustrates the damage caused by the Defect.43




   42
      See, e.g., r/AMDLaptops, HP Envy x360 Laptop right hinges so fragile-it BROKE in 3 months., January, 2021
   https://www.reddit.com/r/AMDLaptops/comments/kx3tw7/hp_envy_x360_laptop_right_hinges_so_fragileit/
   43
      HP Envy x360 Hinge Issue. Closed my laptop the other day and a screw popped out and now the hinge is broken.
   I can see that the other 3 screws are in place on the bracket, but have also become unglued from the case. How
   should I fix this? Was quoted $200 from HP. HP Envy x360 Hinge Issue. Closed my laptop the other day and a
   screw popped out and now the hinge is broken. I can see that the other 3 screws are in place on the bracket, but have
   also become unglued from the case. How should I fix this? Was quoted $200 from HP.,
   https://www.reddit.com/r/Hewlett_Packard/comments/b4o6g9/hp_envy_x360_hinge_issue_closed_my_laptop_the/

                                                            24
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              68.     The Defect manifests both inside and outside of the warranty period. As

   illustrated above, Defendant is often unable to fix the Defect during the warranty period

   and routinely refuses to repair the Defect free of charge outside of the warranty period.

          C. HP’s Exclusive and Early Knowledge of the Defect

              69.     HP forum activity makes clear that Defendant has been on notice of the

   Defect in the Class Laptops since at least 2014 through complaints made to the HP

   Forum.

              70.     The forum page “17” HP Envy Coming apart at the left near screen hinge”

   (first posted October 27, 2014)44, and the nearly 200 customer posts on it, demonstrates

   that the Defect was both pervasive and reported to Defendant back in 2014:




   44
        17" HP Envy Coming apart at the left near screen hinge - HP Support Community - 4651990

                                                           25
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                                       26
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          72.     Customer complaints continued on other HP forum pages, as demonstrated

   in the below images from a forum entitled “Hinges” (first posted February 16, 2016):45




   45
    Solved: Hinges - HP Support Community - 5502838, https://h30434.www3.hp.com/t5/Notebook-Hardware-and-
   Upgrade-Questions/Hinges/td-p/5502838

                                                     27
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          73.     Defendant’s failure to improve its design and manufacturing is evident in the

   below continued complaints on the HP forum page “Replacement Hinges Question” (first posted

   January 24, 2018)46:




   46
     Solved: Replacement Hinges Question - HP Support Community - 6531071,
   https://h30434.www3.hp.com/t5/Notebook-Video-Display-and-Touch/Replacement-Hinges-Question/m-p/6531071

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          74.    As the years progressed, the number of complaints on HP forum sites
   climbed drastically, as discussed in the excerpts below from “HP Envy Hinge Issues -
   Has HP acknowledged this is a known issue yet? (5+ years and counting)” (first posted
   July 16, 2018)47:




   47
     HP Envy Hinge Issues - Has HP acknowledged this is a known i... - HP Support Community - 6759803,
   https://h30434.www3.hp.com/t5/Notebook-Hardware-and-Upgrade-Questions/HP-Envy-Hinge-Issues-Has-HP-
   acknowledged-this-is-a-known/td-p/6759803

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           75.      HP claims that “When the products are serviced, it’s a goldmine of

   information for us. We harvest that information to help us understand how to test it better

   and what’s driving reliability.”48

           76.      Despite Defendant’s awareness of the Defect and the wealth of information

   provided by disgruntled customers, HP has failed to reveal, repair, prevent or adequately

   respond to the Defect.




   48
     HP Total Test Process Testing - HP Inc Video Gallery - Products (brightcovegallery.com),
   http://hp.brightcovegallery.com/products/detail/video/4567149706001/hp-total-test-process-
   testing?autoStart=true&page=0&q=Military

                                                          33
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           77.      Defendant knew that functionality, mobility, maneuverability and

   portability were, and continue to be, material factors for consumers purchasing a Class

   Laptop.

           78.      HP concealed from and/or failed to disclose to the public at large—

   including the Plaintiff and the Class—the defective nature of the Class Laptops and failed

   to remove the Class Laptops from the marketplace or take adequate action to remedy the

   Defect. Rather, HP sold and serviced the Class Laptops even though it knew, or was

   reckless in not knowing, that the Defect impacted the portability, mobility, and

   functionality of the Class Laptops and would ultimately result in Plaintiff’s and Class

   members’ inability to use their Class Laptops for their intended purpose.

           79.      Moreover, Defendant’s omissions are accompanied by affirmative

   misrepresentations as to the Class Laptops’ durability and portability. Defendant

   marketed, promoted, and sold the Class Laptops as “precision-crafted, high-performance

   notebooks”. 49

           80.      The 360-degree Convertible PC was marketed as a 2-in-1 laptop with a

   touchscreen monitor that could be folded flat against the underside of the base of the

   machine.

           81.      Specifically, HP stated that the 360-degree models offered “an affordable

   touch convertible PC that transforms the computing experience with a 360-degree

   hinge.”50


   49
      HP Timeline | HP® Official Site, available at https://www.hp.com/us-en/hp-information/about-hp/history/hp-
   timeline/timeline.html
   50
      See Timeline of our history, https://www.hp.com/us-en/hp-information/about-hp/history/hp-timeline/timeline.html

                                                          34
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           82.     Defendant described its HP Laptops as “reliable” and “designed for long-

   lasting performance”, with “compact, portable design”.51

           83.     Defendant repeatedly emphasized the mobility of the Class Laptops with

   the following representations: “easy to take anywhere”52; “built to keep you productive

   and entertained from anywhere”53; “[a] compact laptop that makes it easy to get work

   done on the go with a Precision Touchpad, while the long battery life and HP Fast Charge

   let you keep moving”;54 “[t]he Pavilion 15 Laptop packs more performance into a smaller

   profile, so you can get more done wherever you go…. so you can do more and enjoy

   entertainment wherever you go”55; “[c]reate on-the-go, anytime, anywhere and whenever

   inspirations strikes.”56

           84.     Defendant further provides assurances to customers regarding the HP

   Laptops’ durability and HP’s pre-sale diligence by stating that “extensive quality testing

   ensures that you can keep going...and going.”57

           85.     Defendant also promoted its quality assurance and the durability of its

   products by inviting technology reporters to its testing facility.58 The tour demonstrated

   a variety of testing devices designed to ensure durability and longevity, including: a


   51
      See Work, Watch and Play All Day, June 4, 2018, https://www.youtube.com/watch?v=KdB4v9ssdIY
   52
      HP Laptop 17-ca3097nr (2C5B7UA#ABA), https://www.hp.com/us-en/shop/pdp/hp-laptop-pc-17-ca3000-
   %281c0g7av%29
   53
      HP Laptop -15t-dw300 (1B9N3AV_1), https://www.hp.com/us-en/shop/pdp/hp-laptop-15t-dw300-touch-optional-
   1b9n3av-1
   54
      HP Pavilion Laptop 15-eh1097nr (3F1F9UA#ABA), https://www.hp.com/us-en/shop/pdp/hp-pavilion-laptop-15-
   eh1097nr
   55
      HP Pavilion Laptop 15-eh1097nr (3F1F9UA#ABA), https://www.hp.com/us-en/shop/pdp/hp-pavilion-laptop-15-
   eh1097nr
   56
      HP® ENVY 17 Laptops, https://www.hp.com/us-en/shop/mdp/laptops/envy-17-344517--1#!&tab=features
   57
      HP Laptop - 17-ca2097nr (2Y438UA#ABA), https://www.hp.com/us-en/shop/pdp/hp-laptop-17-ca2097nr
   58
      Inside HP Labs of Destruction! (archive.org),
   https://web.archive.org/web/20150918232024/https:/www.chipchick.com/2014-07-inside-hp-labs-destruction.php

                                                      35
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   pulley system designed to slam laptops into a hard surface; a platform that vibrated

   the laptops rapidly; equipment used to send electric shocks into the laptops; and a

   freezer for temperature testing.59

            86.   Most importantly, HP also represented to the attendees that the durability of

   the laptop hinges was tested by opening and closing the laptops “typically from minimum

   angle to maximum angle” 27,000 times.60

                  Photograph of Defendant’s Hinge-Testing Operations in 201461




   59
      Id.
   60
      Id.
   61
      Id.

                                                36
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                   Photograph of Defendant’s Hinge-Testing Operations in 201162




           87.      Defendant’s assurances regarding the durability of its products continues to

   this day. HP’s website includes a video entitled “HP Total Test Process”.63 This video

   describes Defendant’s product testing procedures and presents HP products as having

   gone through an “exhaustive set of tests that are designed to replicate the full product life

   cycle in a short period of time”.64

           88.      HP claims that their product testing consists of “115,000 hours of testing on

   each model.”65

           89.      Once again, HP portrays its hinges as tested to survive long-term usage.

   “Take a notebook for example. One of the things that everybody has to do is open and




   62
      HP Durability Tests - YouTube, https://www.youtube.com/watch?v=bM7yw-y3BB0
   63
      HP Total Test Process Testing - HP Inc Video Gallery - Products (brightcovegallery.com),
   http://hp.brightcovegallery.com/products/detail/video/4567149706001/hp-total-test-process-
   testing?autoStart=true&page=0&q=Military
   64
      Id.
   65
      Id.

                                                          37
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   close it. If you’re expected to open and close that notebook 10,000 times, we’ll test it to

   50,000.”66

    Image of Screens Being Opened and Closed as Part of Hinge Testing on HP’s Website67




    Image of Screens Being Opened and Closed as Part of Hinge Testing on HP’s Website68




   66
      Id.
   67
      Id.
   68
      Id.

                                                38
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            Image of Laptops Being Dropped as Part of Quality Testing on HP’s Website69




             90.   HP further assures customers that “after all that’s done, we do low-level

   evaluations. We take a look at each of the subsystems at a component level to make sure

   that there is nothing that could causes issues in the future.”70

             91.   HP also warrants to consumers that “you can be confident if you buy HP’s

   product it’s going to work with what you’ve already got and what you’re going to buy.”71

             92.   Defendant marketed, promoted, and warranted that the Class Laptops were

   premium computers, able to perform the tasks of opening and closing, withstand

   transportation, and furthermore able to perform all of the basic functions of similar

   laptops of their class.




   69
      Id.
   70
      Id.
   71
      Id.

                                                 39
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          93.    Plaintiff and Class members purchased their Class Laptops to be used for

   mobile computing purposes like those portrayed by Defendant in its marketing materials

   for all of the Class Laptops.

          94.    Because the defective materials are fully enclosed within the Class Laptops

   and the Defect is only revealed by laptop use, testing, or disassembly, reasonable

   consumers could not discover the Defect prior to purchase.

          95.    It is likely that many of the Class Laptops will be used or purchased by

   unsuspecting members of the putative class, and injunctive relief could prevent harm to

   those who remain unaware of the Defect which can render the Class Laptops useless.

   Further, potential Class-wide notice may inform Class members of potential remedies

   that they may not be aware of.

          96.    As the Defect likely results from the design of the Class Laptops—i.e., the

   use of flimsy plastic material to mount the laptop hinges—replacing the broken hinges

   with identical ones is unlikely to fully remedy the Defect.

      D. Plaintiff’s Defective HP Laptop

          97.     Plaintiff purchased an HP 17-by2053cl for her personal use on October 27,

   2020, for $599.99, from a Costco Wholesale store located at 1873 West Lantana Rd.,

   Lantana, FL 33462. Plaintiff intended to use the laptop for her business and personal

   computing needs.

          98.    Plaintiff’s purchase was covered by the Limited Warranty for a period of

   one year.



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          99.    Within approximately seven months of purchasing the Class Laptop,

   Plaintiff upon opening the Class Laptop heard a crunching sound and experienced the

   Defect. The issue worsened over time, greatly diminishing her ability to use the machine,

   and only several months after the purchase it became impossible for the laptop open

   properly without the case further separating, or to close the machine.

          100.   As instructed by HP in their documentation, Plaintiff went online for

   support and was directed to the HP support forums. There Plaintiff saw numerous posts

   detailing HP’s refusal to repair and replace the defective Class Laptop, including posts

   wherein HP said the problem was due to user error. Another such post stated that HP’s

   chosen service provider, Ubreakifix, informed another consumer with a defective Class

   Laptop that the cost of the repair was more than a new computer.

          101.   Plaintiff, though counsel, sent a statutory demand for correction of the

   defect on October 13, 2021.



                             CLASS ACTION ALLEGATIONS

          102.   Plaintiff brings this lawsuit on behalf of herself and all similarly situated

   individuals and entities, pursuant to Federal Rule of Civil Procedure 23(a), 23(b)(2),

   23(b)(3), and/or 23(c)(4). The classes consist of:

      a. The Nationwide Class: All purchasers in the United States who purchased a Class

          Laptop (the “Nationwide Class”); and




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      b. The Florida Subclass: All purchasers in the state of Florida who purchased a Class

          Laptop (the “Florida Subclass”, and together with the Nationwide Class, the

          “Class”)

          103.   Plaintiff and Class members reserve the right to amend the Class definitions

   as discovery proceeds and to conform to the evidence. Excluded from the Class are: (a)

   any Judge presiding over this action and members of their families; (b) Defendant and their

   subsidiaries and affiliates; and (c) all persons who properly execute and file a timely

   request for exclusion from the Class.

          104.   Numerosity: Members of the Class are so numerous that their individual

   joinder is impracticable. Moreover, the Class is composed of an easily ascertainable, self-

   identifying set of individuals and entities who purchased Class Laptops. The precise

   number of Class members can be ascertained through discovery, which includes

   Defendant’s records. Plaintiff estimates the number of Class members to be in at least the

   tens of thousands. The disposition of their claims through a class action will benefit both

   the parties and this Court.

          105.   The proposed classes are ascertainable because they are defined by reference

   to objective criteria. In addition, and upon information and belief, the names and addresses

   of all members of the proposed class can be identified in business records maintained by

   Defendant.

          106.   Commonality: There are questions of law and fact common to the Class that

   will materially advance the litigation, and these common questions predominate over any



                                               42
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   questions affecting only individual Class members. Among the questions common to the

   Class are:

      a. Whether the Class Laptops suffer from a design defect that causes the hinges to fail;

      b. The origins and implementation of, and the justifications for, if any, HP’s policies

          and technology relating to the Defect and its manifestation in the Class Laptops;

      c. When HP became aware of the Defect in the Class Laptops and how it responded to

          that knowledge;

      d. Whether HP actively concealed and/or failed to notify consumers of the Defect in

          the Class Laptops;

      e. Whether Defendant knew of the Defect but failed to disclose the problem and its

          consequences to their customers;

      f. Whether a reasonable consumer would consider the Defect and its consequences to

          be material;

      g. Whether Defendant’s conduct violates state consumer protection laws as asserted

          herein;

      h. Whether Defendant’s conduct violated the Magnuson-Moss Warranty Act;

      i. Whether Defendant’s sale of Class Laptops containing the Defect is an unfair, false,

          misleading, or deceptive act in the conduct of any trade or commerce;

      j. Whether Defendant breached the implied warranty of merchantability by selling the

          Class Laptops containing the Defect;

      k. Whether Plaintiff and the other Class members overpaid for their Class Laptops as

          a result of the Defect herein;

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      l. Whether Plaintiff and Class members would have purchased their Class Laptops,

          and whether they would have paid a lower price for them, had they known that they

          contained the Defect at the time of purchase;

      m. Whether Plaintiff and the Class are entitled to compensatory damages, including,

          among other things: (i) compensation for all out-of-pocket monies expended by

          members of the Class for replacement or repair of the Class Laptops; (ii) the failure

          of consideration in connection with and/or difference in value arising out of the

          variance between the Class Laptops as merchantable in the absence of the Defect,

          and as actually manufactured and sold possessing the Defect; and (iii) whether

          Plaintiff and the Class are entitled to all costs associated with repair and replacement

          of their Class Laptops; and

      n. Whether Plaintiff and the other Class members are entitled to equitable relief,

          including, but not limited to, restitution or injunctive relief.

          107.   Typicality: Plaintiff’s claims are typical of the claims of the members of the

   Class, as all such claims arise out of Defendant’s conduct in designing, manufacturing,

   marketing, advertising, warranting, and selling the Class Laptops. All of Plaintiff’s claims

   are typical of the claims of the Class because Plaintiff and all Class members were injured

   in the same manner by Defendant’s uniform course of conduct described herein. Plaintiff

   and all Class members have the same claims against Defendant relating to the conduct

   alleged herein, and the same events giving rise to Plaintiff’s claims for relief are identical

   to those giving rise to the claims of all Class members. Plaintiff and all Class members

   sustained monetary and economic injuries including, but not limited to, ascertainable losses

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   arising out of Defendant’s wrongful conduct as described herein. Plaintiff is advancing the

   same claims and legal theories on behalf of himself and all absent Class members.

          108.   Adequate Representation: Plaintiff will fairly and adequately protect the

   interests of the members of the Class and has no interests antagonistic to those of the Class.

   Plaintiff has retained counsel experienced in the prosecution of complex class actions

   including, but not limited to, consumer class actions involving, inter alia, breach of

   warranties, product liability, product design defects, and state consumer fraud statutes.

          109.   Predominance: This class action is appropriate for certification because

   questions of law and fact common to the members of the Class predominate over questions

   affecting only individual members.

          110.   Superiority: A class action is superior to other available methods for the fair

   and efficient adjudication of this controversy, since individual joinder of all members of

   the Class is impracticable. Given the amount at issue for each Class member, individual

   suits would not be economically viable; however, should individual Class members bring

   separate actions, this Court would be confronted with a multiplicity of lawsuits burdening

   the judicial system while also creating the risk of inconsistent rulings and contradictory

   judgments. In contrast to proceeding on a case-by-case basis, in which inconsistent results

   will magnify the delay and expense to all parties and the court system, this class action

   presents far fewer management difficulties while providing unitary adjudication,

   economies of scale and comprehensive supervision by a single court.




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                                    CAUSES OF ACTION

                                           Count I
     Violation of the Florida Deceptive and Unfair Trade Practices Act (“FDUTPA”)
                                 Fla. Stat. § 501.201, et seq.
                        (Asserted on behalf of the Florida Subclass)


          111.   Plaintiff and the Florida Subclass incorporate by reference each preceding

   and succeeding paragraph as though fully set forth at length herein.

          112.   The purpose of the Florida Deceptive and Unfair Trade Practices Act

   (“FDUTPA”) is “to protect the consuming public and legitimate business enterprises from

   those who engage in unfair methods of competition, or unconscionable, deceptive, or unfair

   acts or practices in the conduct of any trade or commerce.” Fla. Stat. § 501.202(2).

          113.   The FDUTPA prohibits “[u]nfair methods of competition, unconscionable

   acts or practices, and unfair or deceptive acts or practice in the conduct of any trade or

   commerce.” Fla. Stat. § 501.204(1).

          114.   The actions of HP, as set forth above, occurred in the conduct of trade or

   commerce.

          115.   Defendant misrepresented and/or knowingly and intentionally concealed

   material facts concerning the characteristics, uses, and quality of the Class Laptops, and

   thereby created confusion among purchasers of the Class Laptops. Accordingly, HP

   engaged in unfair and deceptive acts or practices.

          116.   Contrary to Defendant’s representations, the Class Laptops were not

   precisely designed, premium computers, and they could not be used in the manner shown

   in Defendant’s marketing material—i.e, a functional, portable, compact design and/or a 2-

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   in-1 laptop employing hinges enabling the machine to fold into various positions—without

   triggering the Defect and becoming largely or wholly unusable.

          117.   These misrepresentations and/or omissions led Plaintiff and the Florida

   Subclass members to believe that they were purchasing fully functional, portable and

   compact and/or premium 2-in-1 laptop computers, when in fact they purchased laptops that

   would cease to function properly if used as advertised.

          118.   Plaintiff and members of the Florida Subclass were deceived by and relied

   upon Defendant’s affirmative misrepresentations and failures to disclose, including but not

   limited to, the representations about the Class Laptops’ quality, design, and hinge

   movement capabilities.

          119.   HP’s acts and practices deceived Plaintiff and the Florida Subclass. In failing

   to disclose the Defect and suppressing material facts to purchasers of the Class Laptops,

   HP violated the FDUTPA and caused injuries to Plaintiff and the Florida Subclass.

          120.   Therefore, Plaintiff and the members of the Florida Subclass are entitled to

   recover actual, statutory, and all other damages to the extent permitted by law, as well as

   costs and reasonable attorneys’ fees pursuant to Fla. Stat. § 501.2105, and any other just

   and appropriate relief.

          121.   Plaintiff and the members of the Florida Subclass are entitled to injunctive

   relief because it is likely that many of the Class Laptops will be used or purchased by

   unsuspecting members of the putative class, and injunctive relief could prevent harm to

   those who remain unaware of the Defect which can render the Class Laptops useless.



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          122.   Plaintiff and the members of the Florida Subclass seek restitution of all

   monies that HP received as a result of selling the defective Class Laptops to Plaintiff and

   the members of the Florida Subclass. As a result of this deception, Plaintiff and the

   members of the Florida Subclass expended substantial sums of money and time for the

   repair and/or replacement of their Class Laptops. Plaintiff is informed and believes that the

   amount of said restitution is unknown at this time but will seek relief to amend this

   complaint at the time of trial, when the same has been ascertained.

          123.   Plaintiff sent Defendant a notice letter prior to the filing of this action.

   Plaintiff has yet to receive a response from HP. Defendant was also provided notice of

   these issues by numerous informal and formal complaints filed against it, including the

   instant Complaint and the various complaints detailed herein, and by numerous

   communications sent by Plaintiff and other Class members.

                                           Count II
            Violation of Fla. Stat. § 817.41 Prohibiting Misleading Advertising
                       (Asserted on behalf of the Florida Subclass)

          124.   Plaintiff and the Florida Subclass incorporate by reference each preceding

   and succeeding paragraph as though fully set forth at length herein.

          125.   Florida’s prohibition on misleading advertising declares unlawful for any

   person to do the following:

                 “[M]ake or disseminate or cause to be made or disseminated before the
                 general public of the state, or any portion thereof, any misleading
                 advertisement. Such making or dissemination of misleading advertising
                 shall constitute and is hereby declared to be fraudulent and unlawful,
                 designed and intended for obtaining money or property under false
                 pretenses.” Fla. Stat. § 817.41(1).


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              126.      The statutory term “misleading advertising” includes statements made or

   disseminated to the public in “oral, written, electronic, or printed form or

   otherwise…which are known, or through the exercise of reasonable care or investigation

   could or might have been ascertained, to be untrue or misleading.” Fla. Stat. § 817.40(5).

   Consumers have standing to state a claim under this statute by alleging that they relied on

   an identifiable misleading advertisement.72

              127.      As described herein, HP regularly and pervasively advertised the Class

   Laptops as portable with a compact design and/or as 2-in-1 laptops employing hinges

   enabling the machine to fold into various positions, while in fact those computers would

   cease to function if used as advertised.

              128.      Plaintiff and members of the Florida Subclass were deceived by and relied

   upon Defendant’s affirmative representations and failures to disclose, including but not

   limited to, the representations about the Class Laptops’ quality, design, and hinge

   movement capabilities.

              129.      Defendant’s statements regarding the purported quality and functionality of

   the Class Laptops were material to prospective purchasers, and were untrue, deceptive,

   and misleading.

              130.      HP has violated Fla. Stat. § 817.41 by engaging in this false advertising

   scheme described herein.




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        See, e.g., Third Party Verification, Inc. v. Signaturelink, Inc., 492 F. Supp. 2d 1314, 1322 (M.D. Fla. 2007).


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             131.   Plaintiff and the Florida Subclass members have been injured and have

   suffered economic damages from HP’s false advertising scheme.

             132.   Pursuant to Fla. Stat. § 817.41(6), Plaintiff and the Florida Subclass

   members are entitled to relief for HP’s violations of the statute, including: 1) damages; 2)

   punitive damages; 3) costs and reasonable attorneys’ fees; and 4) any other remedies

   prescribed by law.

                                            Count III
                                   Breach of Express Warranty
                                  Magnuson-Moss Warranty Act
          (Asserted on behalf of the Nationwide Class and alternatively on behalf of the
                                        Florida Subclass)

             133.   Plaintiff and the Nationwide Class incorporate by reference each preceding

   and succeeding paragraph as though fully set forth at length herein.

             134.   Plaintiff brings this claim on behalf of himself and the Class.

             135.   The Class Laptops are “consumer products” are defined in 15 U.S.C. §

   2301(1).

             136.   Plaintiff and Class Members are “consumers” as defined in 15 U.S.C. §

   2301(3).

             137.   HP is a “supplier” and “warrantor” as defined in 15 U.S.C. §§ 2301(4) and

   (5).

             138.   HP provided Plaintiff and Class Members with “written warranties” within

   the meaning of 15 U.S.C. § 2301(6).




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          139.   HP has breached its express warranties by refusing to honor the express

   warranty to replace or repair, free of charge, any defective component, including the

   hardware causing the Defect.

          140.   At the time Class Laptops were sold, HP knew that they possessed the Defect

   and offered an express warranty with no intention of honoring said warranty with respect

   to the known Defect.

          141.   Additionally, pursuant to 15 U.S.C. § 2304(d)(1):

                 [T]he warrantor may not assess the consumer for any costs the warrantor or
                 his representatives incur in connection with the required remedy of a
                 warranted product…[I]f any incidental expenses are incurred because the
                 remedy is not made within a reasonable time or because the warrantor
                 imposed an unreasonable duty upon the consumer as a condition of
                 securing remedy, then the consumer shall be entitled to recover reasonable
                 incidental expenses which are so incurred in any action against the
                 warrantor.

          142.   At no time has HP offered a permanent or adequate repair or replacement of

   the hardware causing the Defect that would adequately prevent manifestation of the

   Defect. Despite repeated demands by Plaintiff and the Class Members that HP pay the

   costs and incidental expenses associated with temporarily “fixing” the Defect, HP has

   refused to do so. HP’s refusal to provide a permanent repair or replacement for the Defect

   and to pay for the temporary “fixes” violates 15 U.S.C. § 2304(d)(1).

          143.   HP was notified of its breach of warranty and afforded a reasonable

   opportunity to cure its breach of the express warranty but failed to do so despite

   Plaintiff’s multiple requests.




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            144.   As a direct and proximate result of HP’s breach of its express written

   warranties, Plaintiff and Class Members have been damaged in an amount to be proven at

   trial.

                                         Count IV
                                Breach of Implied Warranty
                               Magnuson-Moss Warranty Act
       (Asserted on behalf of the Nationwide Class and alternatively on behalf of the
                                     Florida Subclass)

            145.   Plaintiff and the Nationwide Class incorporate by reference each preceding

   and succeeding paragraph as though fully set forth at length herein.

            146.   Plaintiff and Class Members are “consumers” as defined in 15 U.S.C. §

   2301(3).

            147.   Defendant HP is a “supplier” and “warrantor” as defined in 15 U.S.C. §§

   2301(4) and (5).

            148.   The Class Laptops are “consumer products” as defined in 15 U.S.C. §

   2301(1).

            149.   HP extended an implied warranty to Plaintiff and Class Members by

   operation of 15 U.S.C. § 2301(7), and this implied warranty covers defects in its Class

   Laptops, including the hardware causing the Defect.

            150.   HP breached this implied warranty by selling/leasing defective Class Laptops

   that were neither merchantable nor fit for their intended purpose.

            151.   As a direct and proximate result of HP’s breach of the implied warranty under

   the Magnuson-Moss Act, Plaintiff, and the Class Members, have been damaged in an

   amount to be proven at trial.

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                                         Count V
                               Breach of Implied Warranty
      (Asserted on behalf of the Nationwide Class and alternatively on behalf of the
                                    Florida Subclass)

          152.   Plaintiff and the Nationwide Class incorporate by reference each preceding

   and succeeding paragraph as though fully set forth at length herein.

          153.   A warranty that the Class Laptops were in merchantable condition is implied

   by law.

          154.   These Class Laptops, when sold and at all times thereafter, were not in

   merchantable condition and are not fit for the ordinary purpose for which such portable,

   compact and/or 2-in-1 laptops are used. Specifically, the Class Laptops are inherently

   defective in that there are defects in the Class Laptops’ hinge anchors, which are not of

   high quality, and which fail prematurely and/or fail to function properly as detailed herein.

          155.   Plaintiff sent HP a notice letter prior to the filing of this action. Defendant

   was also provided notice of these issues by numerous informal and formal complaints filed

   against it, including the instant Complaint and the various complaints detailed herein, and

   by numerous communications sent by Plaintiff and other Class members.

          156.   Any attempt by HP to disclaim or limit its implied warranties is

   unconscionable and unenforceable under the circumstances here.

          157.   Specifically, any attempt by HP to limit or disclaim its warranty limitation is

   unenforceable because Defendant knowingly sold a defective product without informing

   consumers about the Defect.




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          158.    As a direct and proximate result of Defendant’s breach of the warranties of

   merchantability, Plaintiffs and the other Class members have been damaged in an amount

   to be proven at trial.

                                         Count VI
                                Breach of Express Warranty
       (Asserted on behalf of the Nationwide Class and alternatively on behalf of the
                                     Florida Subclass)


          159.    Plaintiff and the Nationwide Class incorporate by reference each preceding

   and succeeding paragraph as though fully set forth at length herein.

          160.    Defendant expressly warranted that the Class Laptops were of high quality

   and, at a minimum, would function properly. Defendant also expressly warranted that it

   would repair and/or replace defects in material and/or workmanship free of charge that

   occurred during the Limited Warranty.

          161.    Defendants breached these warranties by selling to Plaintiff and Class

   members the Class Laptops with known problems, which are not of high quality, and which

   fail prematurely and/or fail to function properly.

          162.    As a result of the Defendant’s actions, Plaintiff and Class members have

   suffered economic damages including but not limited to costly repairs, loss of computer

   use, substantial loss in value and resale value of the Class Laptops, and other related

   damage.

          163.    Defendant’s attempt to disclaim or limit its express warranties vis-à-vis

   consumers is unconscionable and unenforceable under the circumstances here.

   Specifically, Defendant’s warranty limitations are unenforceable because HP knowingly

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   sold a defective product without informing consumers about the manufacturing and/or

   material defect. Furthermore, Defendant continues to charge Class members for repairing

   the defective hinges—if it repairs them at all—when in fact such repairs are actually

   necessitated because of Defendant’s defective product.

          164.    The time limits contained in Defendant’s warranty periods were also

   unconscionable and inadequate to protect Plaintiffs and members of the Class.

          165.    Among other things, Plaintiff and Class members had no meaningful choice

   in determining these time limitations, the terms of which unreasonably favored Defendant.

          166.    A gross disparity in bargaining power existed between HP and Class

   members, and HP knew or should have known that the Class Laptops were defective at the

   time of sale and would fail well before their useful lives.

          167.    In addition, HP’s warranty fails of its essential purpose because HP has been

   and is unable to effectively repair the Defect.

          168.    Plaintiffs and Class members have complied with all obligations under the

   warranties, or otherwise have been excused from performance of said obligations as a result

   of Defendant’s conduct described herein. In addition, Plaintiff sent Defendant a notice

   letter prior to the filing of this action.

                                        Count VII
                               Unjust Enrichment/Restitution
       (Asserted on behalf of the Nationwide Class and alternatively on behalf of the
                                     Florida Subclass)

          169.    Plaintiff and the Nationwide Class incorporate by reference each preceding

   and succeeding paragraph as though fully set forth at length herein.


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          170.   HP has been enriched as a result of the conduct described in this Complaint.

          171.   HP received a benefit from Plaintiff and other members of the Class in the

   form of payment for products purchased on HP’s website.

          172.   Retention of these benefits by HP would be unjust and inequitable because

   HP received these benefits by engaging in a false, deceptive, and misleading scheme to

   market the Class Laptops as premium, portable, fully functional machines and/or 2-in-1

   laptop computers, and by engaging in the unlawful, unjust, and wrongful acts and practices

   described in this Complaint.

          173.   The benefits, in whole or in part, that HP received were not legitimately

   earned and came at the expense of Plaintiff and the other members of the Class.

          174.   HP knows that the above-described conduct is unjust, inequitable, and

   wrongful, but systematically engages in this scheme anyway in order to gain unfair

   advantages and reap unearned financial benefits.

          175.   HP is guilty of malice, oppression, and/or fraud through its willful and

   conscious disregard for the rights of Plaintiff and other Class Members.

          176.   Plaintiff and the Class Members are entitled to restitution and disgorgement

   of all amounts unjustly retained by HP, as well as other appropriate relief.

                                       Count VIII.
                          Fraudulent Omission or Concealment
      (Asserted on behalf of the Nationwide Class and alternatively on behalf of the
                                    Florida Subclass)

          177.   Plaintiff and the Nationwide Class incorporate by reference each preceding

   and succeeding paragraph as though fully set forth at length herein.


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          178.   At all relevant times, HP was engaged in the business of designing,

   manufacturing, distributing, and selling the Class Laptops.

          179.   HP, directly and through its representatives or agents, delivered Class

   Laptops to its distributors and various other distribution channels.

          180.   HP willfully, falsely, and knowingly omitted various material facts

   regarding the quality and character of the Class Laptops.

          181.   Rather than disclose the Defect to Plaintiff and other prospective purchasers

   of Class Laptops, HP concealed the Defect.

          182.   HP omitted and concealed this material information to drive up sales,

   maximize profits, and maintain its market power, as consumers would not purchase Class

   Laptops, or would pay substantially less for them, had they known the truth.

          183.   Plaintiff and Class members could not have discovered the Defect prior to it

   manifesting in their Class Laptops.

          184.   HP was in exclusive possession of information concerning the Defect’s

   existence, which would have been material to reasonable consumers, and thus was

   obligated to disclose the Defect to Plaintiff and Class Members, at the point of sale or

   otherwise.

          185.   Although HP had a duty to disclose the Defect to consumers, it failed to do

   so.

          186.   Plaintiff and Class Members sustained injury at the time they purchased

   Class Laptops that suffer from the Defect, which Defendant failed to disclose and

   actively concealed from them. Had Plaintiff and the Class known about the Defect at the

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   time of purchase, they would have paid substantially less for their Class Laptops, or

   would not have purchased them and avoided the significant out-of-pocket costs they have

   or will incur to repair or replace Class Laptops once the Defect manifests.

          187.   HP’s acts were done maliciously, oppressively, deliberately, and with intent

   to defraud, and in reckless disregard of Plaintiff and Class Members’ rights and well-

   being, and in part to enrich itself at the expense of consumers. HP’s acts were done to

   gain commercial advantage over competitors, and to drive consumers away from

   consideration or competitor devices. HP’s conduct warrants an assessment of punitive

   damages in an amount sufficient to deter such conduct in the future.

                                            JURY DEMAND

          Plaintiffs hereby demand a trial by jury on all issues so triable.

                                    PRAYER FOR RELIEF

   WHEREFORE, Plaintiff prays for a judgment against Defendant as follows:

                 A.     Entering judgment in favor of Plaintiff against Defendant;

                 B.     Certification of the proposed Class pursuant to Federal Rule of Civil

          Procedure 23;

                 C.     Appointment of Plaintiff as Class Representative for the Class;

                 D.     Appointment of Plaintiff’s counsel as Class Counsel;

                 E.     A declaration that HP violated the Florida statutes that form the basis

          for Plaintiff’s primary statutory claims;

                 F.     A declaration that HP was unjustly enriched by its conduct as

          described herein;

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                G.     Monetary damages;

                H.     Statutory damages in the alternative;

                I.     Restitution;

                J.     Injunctive relief;

                K.     Disgorgement of all monies received by HP as a result of the

         unlawful, unjust, unfair, and deceptive acts and practices described herein;

                L.     Penalties as provided by law;

                M.     Treble damages;

                N.     A permanent injunction enjoining HP from continuing the unlawful,

         unjust, unfair, and deceptive acts and practices described herein;

                O.     Pre-judgment and post-judgment interest;

                P.     Reasonable attorneys’ fees and expenses; and

                Q.     Such other further relief that the Court deems just and equitable.

   Dated: November 10, 2021

                                            Respectfully Submitted,



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